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EXHIBIT 1
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

)
In re: NEURONTIN MARKETING, )
SALES PRACTICES, AND PRODUCTS)
LIABILITY LITIGATION, )

)

VIDEOTAPED DEPOSITION OF RONALD Wm. MARIS, Ph.D.
(Taken by Defendant)
Columbia, South Carolina

Monday, Septembe , 2008

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Reported in Stenotype by
V. Dario Stanziola, CSR, RPR, CRR
Transcript produced by computer-aided transcription

 

 

 

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302 304
1 unclear on that. 1 Moving on, what else in Exhibit 19 is a new
2 A. I think we're opening a can of worms here 2 opinion about how Neurontin causes suicide? I'm
3 with ten minutes to go. 3 talking general causation.
4 Q. We'll do our best. 4 A. Well, obviously from the diagram, I've
5 A. Okay. ‘First of all, the general model 5 added -- I've added in addition to the biology
6 has never been offered into evidence of suicide. 6 genetics neurochemistry, which I think Trimble
7 ~~ That's -- that's the graph or the figure that I 7 talked about and which Kruszewski talked about,
8 attached. . 8 I'veadded psychological factors. I've added
9 Q. And this is the graph that you have 9 sociology and culture. I've added psychiatry and
10 published in your 2002 Lancet article, right? 10 diagnostic considerations. I just don't think we
11 A. Right. But it's never been introduced 11 can do this in five minutes.
12 into this trial. 12 Q. Okay. Let's cut.
13 Q. And so -- okay. 13 MS. McGRODER: Wait a minute. I'm going
14 A. That's new. 14 to -- just off the record.
15 Q. And this is -- and this is a — this is a i5 (A DISCUSSION WAS HELD OFF THE RECORD.)
16 theory for how Neurontin caused suicide in Mr. Smith? } 16 THE VIDEOGRAPHER: Let me -- this is the
17 A. It's a general model, and then I modify 17 end of Tape No. 6 in the deposition of Ronald
18 it with highlighting and with facts from the case 18 Maris. The time is 4:56 p.m.
19 to make it specific to Smith. 19 (TIME NOTED: 4:56 p.m.)
20 Q. Okay. You know what, that's going to be a 20 (SIGNATURE RESERVED.)
21 problem for the record, because our exhibit doesn't 21
22 have your highlighting on it. So I'm going to give 22
23 you a highlighter, and I would like for you to 23
24 highlight the exhibit copy for the model and then 24
25 we'll continue. Because I do want to know everything | 25
303 305
1 else that's new general causation testimony in this 1 WITNESS' CERTIFICATE
2 report. 2
3 A. You've got five minutes. 3 J, RONALD Wm. MARIS, Ph.D., do hereby
4 MR. ROSENKRANZ: In light of the fact 4 certify that J have read and understand the
5 that it's five to 5:00 -- 5 foregoing transcript and believe it to be true,
6 THE WITNESS: My wife's going to kill me. 6 accurate, and complete transcript of my testimony,
7 MR. ROSENKRANZ: -- why don't you let him 7 subject to the attached list of changes, if any.
8 highlight now and start tomorrow. 8
9 MS. McGRODER: We can get it done in five 9
10 minutes. 10
il A. I don't know if we can or not. 11 Ronald Wm. Maris, Ph.D.
12 THE VIDEOGRAPHER: We've got two minutes |12
13 in the tape. 13
14 MS. McGRODER: We've got two minutes. 14 This deposition was signed in my presence by
15 A. You're going to say my general theory was 15. , on the day of
16 hastily drawn. 16 , 2008.
17 MR. ROSENKRANZ: This is known as dead 17
18 air in the radio business. 18
19 Q. Okay. 19 NOTARY PUBLIC
20 A. It's not done yet. 20 My commission expires:
21 This is red. This was in red. This was 21
22  inred. And this was in red. 22
23 Q. Okay. Thank you. 23
24 Now, moving on -- we'll go into that more 24
25 tomorrow. 25
77 (Pages 302 to 305)

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Page 309

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

)
In re: NEURONTIN MARKETING, )
SALES PRACTICES, AND PRODUCTS)
LIABILITY LITIGATION, )
)

 

VOLUME IT

CONTINUED VIDEOTAPED DEPOSITION OF
RONALD Wm. MARIS, Ph.D.
(Taken by Defendant)
Columbia, South Carolina

Tuesday, September 30, 2008

Reported in Stenotype by
V. Dario Stanziola, CSR, RPR, CRR
Transcript produced by computer-aided transcription

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mean, they were made between December and probably

 

Page 554 Page 556 :
1 as instructed? 1 fairly recently.
2 A. I think that's possible. I think it's 2 Q. Well, when's the first time you learned
3 unlikely. 3 that Mr. Smith was diagnosed with anxiety and
4 Q. But you agree it's possible? 4 depression in May of 2003?
5 A. _ It's certainly possible. 5 A. [think it was always in the medical
6 Q. Would you agree it's a reasonable 6 records.
7 inference? 7 Q. Yeah, but I'm asking you when's the first
8 A. I don't think so. I think it's a 8 time you read those medical records and learned that? :
9 stretch. 9 A. I--I'm not sure. If what your a, :
10 Q. You agree that Mr. Smith had depression | 10 suggesting is that I read Dr. Trimbie's deposition
11 before he ever took Neurontin, correct? 11 and that jogged my memory to go look it up, that's
12 A. A mild depression. 12 quite possible. The fact is I got it right.
13 Q. Well, you know that in May of 2003 he was | 13 Q. _Is it significant to your opinion that Mr.
14 diagnosed with depression and anxiety, correct? |14 Smith was diagnosed with depression and anxiety inf
15 A. He was diagnosed -- he was -- he took 15 May of 2003 and was prescribed an antidepressant for :
16 Elavil in May of 2001 from Dr. Cato. He also in 16 major depressive disorder and generalized anxiety
17 May 2nd of 2003 was given -- it was noted that he | 17 disorder at that time?
18 was depressed and anxious. 18 A. It's a compound --
19 By May 15th, 2003 he was diagnosed with [19 MR. SOH: Objection, form, foundation.
20 anxiety and depression by Dr. Cato, and he --it | 20 A. Yeah, compound question. And the problem
21. was noted in the record that he was taking Lexapro} 21 is --
22 and Desipramine, 25 milligrams, HS. 22 Q. Are you asserting an objection, Dr. Maris?
23 Q. Now, where is that in your report? 23 A. No, I'm saying that I can't answer your
24 I don't see that. 24 question as stated.
25 A. I've got handwriting. 25 Q. Okay. Let me restate it.
Page 555 Page 557 F
1 Q. All right. Then may I borrow that? 1 Is it significant to your opinion that Mr. i
2 A. T'll probably never get it back. 2 Smith was diagnosed in May of 2003 with depression
3 Q. Now, that's something you went -- you 3 and anxiety for which he was prescribed Lexapro,
4 didn't include information about Mr. Smith's 4 which is indicated for the use of major depressive
5 diagnosed anxiety and depression in May of 2003 in 5 disorder and generalized anxiety disorder?
6 your original report, correct? 6 A. Ican Say yes, but I can't say a simple
7 A. I kept working from December to now, so 7 yes because Lexapro is also for other things than
8 itis correct. 8 major depression. :
9 Q. And what did you look at to conclude that, 9 Q. Okay. Do you think he was prescribed
10 in fact, Mr. Smith was diagnosed with anxiety and 10 Lexapro for depression?
11 depression in May of 2003? 11 A. Yes. But we don't know if it was major
12 A. The medical records. 12 depression, which is a technical category within
13 Q. Of whom? 13 the DSM, which I've never seen him given that
14 A. Probably Cato, yes. 14 diagnosis.
15 Q. Okay. Did you make these notes on your 15 Q. Did you go back and try to determine :
16 report in pencil here after you read the deposition 16 whether Mr. Smith had a major depressive disorder in §
17 of Dr. Trimble? 17 May of 2003?
18 A. Possibly. I don't know exactly when I 18 A. I think it's in my report.
19 made them. I know that they were including the -- 19 Q. Where is it in your report?
20 I think it was the Exhibit 5 addendum of evidence, 20 Okay. I have your report.
21 after I read all of that, which included Dr. 21 A. I'mnot sure. It says 2003. I think!
22 Trimble. But I don't know if it was specifically 22 said it -- by the time that we reached 2004,
23 after Trimble. 23 there's an explicit section in my report on the
24 T have no idea when I made those. I 24 question that you're asking me, which is the
25 25

 

   
    
  
   
   
  
  
  
 
 
  
  
   
   
   
  
   
   
     

depression level of Richard Smith. And it starts

 
 

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Page 570 . Page 572 :
1 Q. Did you just X out on the document of the 1 A. Berklacich. It's 2/27, 28,'03. Andit =F
2 psychological autopsy, which is Exhibit 30, the 2 diagnosed -- under the new patient questionnaire it
3 portion of the sentence that says however, decedent} 3 mentioned depression, pain, and again another
4 was never diagnosed nor treated for depression? 4 reference to sleep disorder.
5 You X'd out never diagnosed nor, and you 5 Q. And so that's 2/27 of 2003, correct?
6 wrote in diagnosed -- 6 A. Right.
7 A. And. 7 This reference to new patient
8 Q. -- and. 8 questionnaires confused me because it probably
9 Okay. So now is that corrected? 9 wasn't Dr. Hampf because he also did one.
10 A. Yes. 10 Q. Okay.
il Q. Thank you. ii A. But the one I have is a reference to
12 If you could turn to page 18 of your 12 2/27, 28 of '03.
13 report. On the very top -- 13 Q. Okay. And so I just want to understand
14 A. Yes. 14 this. For depressed mood most of the day nearly §
15 Q. -- you say Richard never saw any 15 every day, your diagnosis on page 19 of your report, F
16 psychiatrist nor received any DSM diagnosis for 16 you're referring to a 2003 record of depression
17 depression or mood disorder. 17 because of pain and lack of sleep?
18 Is that also incorrect? 18 A. And plus the other references that I've
19 A. That's probably incorrect. The problem 19 already given you to Cato. :
20 is I -- what I mean by DSM diagnosis is something | 20 Q. Okay. And -- and you understand the 2003 §
21 like 296.23, which is a code in the DSM which means} 21 record is pre-Neurontin, correct?
22 major depression, first episode, serious without 22 A. Correct.
23 psychosis. 23 Q. Okay.
24 He did give a word depression so that to 24 A. Incidentally, when he started taking
25 that extent, it's not right. But I never saw any 25 Neurontin, they wanted him to get tested for a
Page 571 Page 573 :
1 DSM diagnostic code which is required for insurance 1 psychiatric disorder. :
2 purposes. 2 Q. Right.
3 Q. Okay. So if -- if Dr. Cato had actually 3 Why do you think that is?
4 listed a DSM diagnostic code alongside his reference 4 A. Idon't know why. You can ask Dr.
5 to depression and anxiety, then this statement in 5 Mackey. Apparently, he showed signs -- you know,
6 your report would be wrong? 6 when you have somebody who's elderly, you often
7 A. That's correct. 7 suspect -- that is to say, Rule 65, you often :
8 Q. Okay. Going back to your psychological 8 suspect that there may be dementia involved because |
9 autopsy on page 26, okay? Now, let me just remind 9 it's so common, and usually it's Alzheimer's type.
10 you we're talking about your major depressive 10 But I don't know why. You'd have to ask
11 disorder diagnosis on page 19 of your report, and you | 11 him. Maybe he looked confused. Maybe he was
12 say you rely on psychological autopsy question 1 12 forgetting things.
13 related to Dr. Hampf's new patient questionnaire, 13 Q. We'll come back to that.
14 right? 14 Okay. Also in your report on page 19 you
5 A. Yes. 15 say after taking Neurontin, Smith had all nine
16 Q. What is the date of Dr. Hampf's new patient | 16 criteria required for a DSM diagnosis of major
17 questionnaire where the decedent notes he is 17 depressive disorder.
18 depressed because of lack of pain -- because of pain | 18 And then you cite to some DSM-IV codes,
19 and lack of sleep? 19 right?
20 A. The one I have in my treatment history 20 A. Yes.
21 was from Dr. Berklacich, Berklacich, however you 21 Q. And one of the codes is 296.33, correct?
22 pronounce his name. 22 A. Right.
23 Q. You know, I still to this day don't know. 23 Q. And you know what that code is for, right?
24 MS. SEATON: It's Berklacich. 24 A. Of course, that's why I wrote it..
25 Q. Berklacich. 25 Q. Yeah.

 

67 (Pages 570 to 573)

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Case 1:04-cv-10981-PBS Document 1712-2 Filed 03/12/09 Page 7 of 18

 

Page 594
we just talked about, right?

A. Right.

Q. And I just do want you to note at the
bottom of the first paragraph the record states -- it
Says pain does disrupt his sleep, right?

A. Right.

Q. As you reviewed Mr. Smith -- Mr. Smith's
medical records, you agree that his pain often
disrupted his sleep, right?

I mean, is that sort of a consistent trait
when he had pain?

A. TI think so.

Q. Okay. If you'll turn to page 50. At the

. top it says February 28, 2003, the office received a
call from the patient's wife.
Are you with me?

A. My pages are out of number now. It goes
48, 32.

Q. Oh, I'm sorry. Keep going toward the back.
It's when you get to the office notes and the
handwritten --

A. Okay. I got it.

Q. There you go. Sorry.

The office received a call from Mrs. Smith,
the patient's wife, because -- and they want to pick

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Page 596 :

Q. And it says he's requesting surgery
scheduled for 4/16/03 to be canceled?

A. Right.

Q. And the patient stated, quote, I've talked
with my family and they want me to try conservative
treatment first. I'm going to try physical therapy
and a block and see if I get better, end quote.

A. Right.

Q. And then the note says that the office --
the person -- well, I don't know if this is the
physician. The nurse's note, the nurse says: I
explained to him that was fine, but I want him to
understand if he should decide to reschedule, it will
be at a later date.

The patient says he understands, right?

A. Um-hum. Yes.

Q. If you turn the page, it’s the very next
day, March 5, 2003.

Do you see that?

A. Yes.

Q. And the -- Mrs. Smith calls back, and she :
requests that her husband be put back on the surgery :
schedule, right?

A. Right.

Q. And what she says is, quote, I don't know

 

Page 595
up the MRI film because they don't feel that Mr.
Smith can wait until April 16th for his surgery.

Do you see that?

A. Right.

Q. And they want to take -- they want to make
an appointment with Dr. McCombs, right?

A. Right.

Q. To be seen.

Is Dr. McCombs a surgeon; do you know?

A. Yes, yes.

Q. And then the very next -- well, it's not
the very next day. On March 3, the patient's wife
apparently called again, right, per patient's wife?

A. Yes.

Q. They changed their mind now, and they say
yeah, we want to keep the surgery scheduled on
April 16th with Dr. Berklacich?

A. Right.

Q. Right?

A. Right.

Q. The very next day on March 4, the office of
Dr. Hampf receives a call from Mr. Smith, right, from
the patient?

Do you see that?
_ A. Right. |

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fb fet ek et pet et
RBSRBESTRRRONESLCMOVaUAWNE

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Page 597 f
what's wrong with Richard. He's in so much pain, I
think he is out of his mind. He saw Dr. McCombs on f
Monday, and we didn't even talk about surgery. He §
suggested nerve blocks and physical therapy, but I
know that is not a cure and Richard is not going to
get better until he has surgery.
Is that reflected anywhere in your

treatment record?

A. Ijust added it.

Q. Oh, you just added it?

A. Yeah.

Q. Is that -- is that significant at ail to
your opinions in this case about his condition in the :
spring of 2003?

A. Sure. And he gets a laminectomy on
April 1st, and then after that he feels a lot
better.

Q. Well, not quite after that, but we'll get
there.

MR. ROSENKRANZ: Objection.

A. By 4/21/03 he says doing well and is
pleased four weeks after his laminectomy.

Q. Okay. We'll get there. I'm going to ask
you some questions about that, okay?

A. Okay.

 

” 7B (Pages 594 to 597)

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Case 1:04-cv-10981-PBS Document 1712-2 Filed 03/12/09 Page 8 of 18

 

 

 

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1. UNITED STATES DISTRICT COURT :
DISTRICT OF MASSACHUSETTS }

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4 In re: NEURONTIN MARKETING, ) 3
SALES PRACTICES, AND PRODUCTS)

5 LIABILITY LITIGATION, ) :
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7 VOLUME III

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9 CONTINUED VIDEOTAPED DEPOSITION OF ;

|

10 RONALD Wm. MARIS, Ph.D. is
11 _ (Taken by Defendant) :
12 Columbia, South Carolina
13 Wednesday, October 1, 2008
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24 Reported in Stenotype by ;
V. Dario Stanziola, CSR, RPR, CRR i

25 Transcript. produced by computer-aided transcription i

 

 

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: Page 669
1 the medical records he reports sleep disorder.
2 -Q. And Dr. Mackey actually testified that
3 insomnia is typical of people with chronic pain,
4 right? Do you remember that testimony?
5 A. Yes,
6 Q. And Ruth Smith testified that Richard
7 Smith's problems sleeping came on in connection with
8 . the increasing pain he had, right? Do you remember
9 that testimony?

WONDUAWNE

Page 671
psychiatric evaluation, right? i
A. Right. She had actually called March ist
and mentioned suicide ideation, which she :
interpreted as suicide ideation. She called
Mackey's office for this March 9th visit, and that
was probably part of his phone records that the i
daughter was concerned about him. And -- and any
time you mention suicide, they tend to getyoutoa &
psychiatrist.

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10 A. And to the point that they started 10 Q. And we talked about that yesterday, right?
11 sleeping in separate bedrooms because he was up -- | 11 A. Yes.
12 he was so restless at night that she couldn't sleep 12 Q. And so Dr. Mackey's note -- or Dr. Mackey
13. withhim. 13 _ in his deposition said that he made an appointment
14 Q. Okay. Do you know when it was that they 14 for Mr. Smith to see a Dr. West.
15 started sleeping in separate bedrooms? 15 Do you remember that testimony?
16 A. I don't remember, but I could go back and 16 A. Yes, I do.
17 look at the record. i7 Q. And that Mr. Smith did not keep that
18 Q. Okay. You would agree that Mr. Smith's 18 appointment or -- or go -- go to see Dr. West?
19 pain at - at this time, on March 9th, was extremely | 19 A. That's correct.
20 severe, correct? 20 Q. Okay. Do you think that Mr. Smith had
21 A. Gosh, I wish I had that pain scale, but 21 reluctance to visit a psychiatrist at this time
22 it certainly was —- I don't know if I'd say 22 because of the factors we talked about yesterday,
23 extremely severe, because that sounds like a nine 23 being an elderly white male, having pride, and maybe
24 or ten instead of a seven or eight, and I don't 24 being somewhat reluctant to get psychiatric care?
25 know if I have the evidence for that. 25 ’ A. You know, it’s hard to know. I think
Page 670 Page 672 [
1 Q. How about severe? 1 we're probably only speculating, because all we
2 A. It was severe. 2 know for a fact is that he was resistant to
3 Q. Okay. And on the pain scale that you 3 psychiatric treatment. We have —- I have no way of f
4 looked at and perhaps made a note of, a seven was 4 getting in his mind. I mean, I can speculate that
5 excruciating pain, right? 5 people don't want to be thought of as having
6 A. Right, seven, eight is excruciating. 6 dementia or being unable to control their suicidal
7 Q. Do you know whether Dr. Mackey raised the | 7 impulses or whatever that he may have been
8 possibility of surgery at this visit? 8 thinking. But I have no direct evidence what was
9 A. He said consider surgery and get a psych 9 in his mind, just the fact that he didn't keep the
10 evaluation for dementia, both. 10 appointment. .
11 Q. Okay. And so let's talk about the surgery 11 Q. Okay. That's fair.
12 first. The note says that we discussed the 12 Do you believe that the recommendation to
13 possibility of surgery. We are going to go ahead and {13 see a psychiatrist at this point was based on both
14 make him an appointment to see Dr. Everette Howell. | 14 suicidal ideation and concern about possible
15 And you're -- you're aware that Dr. Howell 15 dementia?
16 is a surgeon, right? 16 A. Yes.
17 A. Yes. 17 Q. And what are some of the symptoms of
18 Q. Okay. So at this point would you agree 18 dementia, if you know?
19 that Mr. Smith had an expectation that surgery was a | 19 A. Well, of course, I know. The most common f
20 possibility? 20 type of dementia is Alzheimer's type. And the
21 A. Yes. 21 prominent characteristic of Alzheimer's type
22 Q. His daughter -- the note says that his 22 dementia is memory impairment.
23 daughter, quote, raised the concern about whether or | 23 (Exhibit 39: A photocopy of a Medline i
24 not there are some other issues going on. And on the | 24 Plus article marked for identification, as of
25 _ basis of her concerns, Dr. Mackey recommended a 25 this date.)

 

 

 

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7 (Pages 669 to 672)

 

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Page 825

1 UNITED STATES DISTRICT COURT F

DISTRICT OF MASSACHUSETTS :

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4 In re: NEURONTIN MARKETING, ) ;

SALES PRACTICES, AND PRODUCTS) :

5 LIABILITY LITIGATION, )

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7 . VOLUME IV

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9 CONTINUED VIDEOTAPED DEPOSITION OF

10 : RONALD Wm. MARIS, Ph.D.

11 (Taken by Defendant)

12 ' Columbia, South Carolina

13. Monday, October 20, 2008 cL

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24 Reported in Stenotype by i

V. Dario Stanziola, CSR, RPR, CRR

25 Transcript produced by computer-aided transcription |

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.., Case 1:04-cv-10981-PBS Document 1712-2 .. Filed 03/12/09 Page 11 of 18

 

‘ Page 910
1 900 milligrams BID.

2 -Q. What's BID?

3 A. That means twice a day. Soitsounds

4 like she is getting 1,800. ,

5 Q. Okay. Now keep going.

6 A. And HS. So it sounds like she's getting

7 alot more than 1,200 a day. —

8 Q. Okay. In fact, what's nine times three, 27?

9 A. Yep.

still opine that Neurontin caused the suicide?

WON AO BW DN eS.

Page 912 |:

MR. ROSENKRANZ: Objection to the form of |;
the question. 2
A. No, of course not.
Q. Okay. So in order to opine that she -- that
Neurontin caused her suicide, she had to be taking
Neurontin at the time, right?
A. Not at the time. She had to have been
taking it for some time. Plus I think at the time

 

 

 

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10 Q. So she's getting -- she's being prescribed 10 as well.
11 2,700 milligrams of Neurontin in December of 2002, | 11 Q. Okay. Well, let's delve into that.
| 12 right? 12 How long could she have discontinued
13 A. Let me see here. Sounds like it. I 13 Neurontin use prior to the suicide and it would still
14 mean, I think that's ambiguous. But one way of. 14 in your opinion be related to the Neurontin use?
15 reading it is she was getting that much. 15 A. Gosh, I don't know how to answer that.
16 Q. What's ambiguous about it? 16 I'm assuming that she was pretty much on Neurontin};
17 A. It's not really ambiguous. Just seems 17 right up from the time she started taking it in :
18 like a lot. 18 June 24th of 2002 pretty much right up until she
19 Q. Okay. So she's -- in December of 2002 19 died. Now, you're saying let's assume she wasn't.
20 she's being prescribed 2,700. milligrams a day. And |20 So that's -- that assumes facts contrary to my
21 you'd agree with me that that is a much higher dose | 21 reading of the record.
22 than she was taking at the time of her death, right? | 22 Q. That wasn't -- I wasn't asking you to
23 A. Right. 23 assume that though. I'm trying to understand if
24 Q. Okay. In order to opine that Susan 24 you're -- if you're going to tell a jury that she
25 Bulger's suicide was caused by Neurontin, she had to! 25 didn't have to be taking Neurontin at the time of her |:
Page 911 Page 913 |
1 be taking Neurontin at the time of her death, right? 1 death, when could she have stopped taking Neurontin |
2 A. Well, no, that’s not true. We know she 2 and you would still opine that her death was caused
3 took it for some time. And I said there's two 3 by Neurontin?
4 effects of Neurontin, one is the -- for example, I 4 A. Well --
5 opine she may be on Effexor and Lexapro because the | 5 Q. Do you understand my question?
6 Neurontin is making her depressed. 6 A. I'm not sure because I said before I
7 Q. You know what, [et's talk about. Let's talk 7 think she had to be taking it chronically and
8 about Effexor. 8 acutely.
9 A. Well, let me try to answer your first 9 Q. Okay. So then we agree. We agree that in
10 question before you change the question. You asked 10 order for you to opine that Neurontin caused her
11 mea question, I haven't answered it yet. Could you 11 suicide, she had to be taking it at the time of her
12 repeat the question? 12 death?
13 Q. I'm not going to repeat the question. 13 A. And before her death.
14 MR. ROSENKRANZ: Can you read it back, 14 Q. Okay. Okay. I think we agree.
15 please. 15 A. Yeah.
16 MS. SEATON: You could read it back. 16 Q. Do you remember the Giles case?
17 (THE QUESTION WAS READ BACK.) 17 A. Ido. That was an Effexor case in :
18 A. And my answer was yes and no. I think 18 southern Illinois of a mine worker. fi
19 there were two effects; one was the long-term 19 Q. Do you recall drafting an expert report in
| 20 effect of taking Neurontin and one was the acute 20 which you stated that absent Effexor Jeff had
21 effect of taking Neurontin. So you can have a kind 21 stoically managed years of injuries, work disruptions
22 of -- you can have a long-term effect and a 22 and physical pain without attempting or even thinking
23 short-term effect. 23 about suicide?
24 Q. Okay. But you're not going to tell a jury 24 A. Yes.
25 that somebody could not be taking Neurontin and you'd | 25 Q. Do you recall opining in the Giles case

 

 

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” 23 (Pages 910 to 913)

 
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Page 918 oo, Page 920
1 Q. Like what? , 1 Q. Right.
2 -A. Well, I don't remember the Giles case in 2 And you acknowledge that at the time of her |:
3  -enough detail. But if I could look at it and go 3 death she was taking Effexor, according to Ron :
4 over the side effects that are common with Effexor. | 4 Bulger, right?
5 Q. Well, it's -- I mean, it's interesting 5 A. Right. And, of course, it wasn't found
6 because it's -- basically it sounds just like the 6 in her blood toxicology either.
7 Bulger case. In your report in Giles, you're talking 7 Q. Well, neither was Neurontin, right?
8 about I'm not arguing that Effexor was the one and | 8 A. They didn't test for Neurontin.
9 only cause. Clearly depressive disorder, physical 9 Q. Right.
10 injuries, family history of depression, chronic pain, | 10 And they didn't test for Effexor?
11 unemployment were all suicidogenic too. However, | 11 A. I don't know. That's a good question.
12 Jeff lived with these stressors for many years. It 12 Q. You would agree with me that Ron Bulger §
13 was after starting Effexor. Effexor was the scale 13 _ told the police that Susan was taking Effexor at the |:
14 tipper, just the noticeable difference maker pushing | 14 __ time, right? H
15 him over the edge. To me that sounds just like the | 15 A. I believe that's true, yes.
16 Susan Bulger case. . 16 Q. Okay. And so do you have any reason to
17 A. No, you're not even -- 17 dispute that Susan Bulger was prescribed and took
18 MR. ROSENKRANZ: Objection to form. 18 Effexor continuously or as prescribed from -- from
19 A. You're not -- 19 November 2003 until her suicide?
20 _ MR. ROSENKRANZ: You're not testifying, 20 A. IT just don't know the answer to that.
21 counselor. 21 Q. Okay. But you have no reason to dispute
22 A. You're not even addressing the issue that 22 that, right? oO
23 I'm raising, which is in that case what are the 23 A. Well, the time she stopped taking her
24 purported adverse effects of taking Effexor in the 24 medicines without telling anybody. So it's
25. Giles case. 25 __ possible.
Page 919 Page 921 |:
1 Q. Well, I assume that in the Giles case you 1 Q. Okay. We've been going for about another
2 __ said that the Effexor made Jeff Giles' depression 2 hour. If you'd like --
3 worse? , 3 A. We have?
4 A. I don't know. We'd have to go back and 4 Q. Yes. I know.
5 look. There's specific side effects for each drug. 5 Do you mind if we --
6 Q. Okay. If in fact in the Giles case you 6 MR. ROSENKRANZ: It's a little under an
| 7 testified that the Effexor made the depression worse, | 7 hour.
8 and in this case you're saying the Neurontin made 8 MS. SEATON: Okay. Well, can we take five
9 Susan Bulger's depression worse, how do you know it | 9 minutes? i
10 wasn't the Effexor that made her depression worse? | 10 A. Sure.
11 A. Idon't know for a hundred percent, I 11 Q. Great. / 4
12 agree. And I -- but I do think she's on Effexor 12 THE VIDEOGRAPHER: End of tape number two }}
13 partly because she's taking Neurontin. The 13 in the deposition of Dr. Ronald Maris, Volume ‘
14 Neurontin caused the Effexor. 14 I. The time is 10:52 a.m. We're now off the
15 Q. Okay. Now, I want to go back. You said 15 record.
16 something about you -- part of your methodology in | 16 (A BRIEF RECESS WAS TAKEN.) i
17 excluding the Effexor was the fact that the Effexor 17 THE VIDEOGRAPHER: This is the beginning Ht
18 was transitory, right? 18 of tape number three in the deposition of Dr. i
19 A. Well, it certainly wasn't being taken at 19 Ronald Maris, Volume I. The time is (
20 the same amount -- I don't know the treatment 20 10:59 a.m. We're back on the record.
21 history. When I see it for the first time here, I 21 Q. Dr. Maris, I want to go back to this issue
22 have to go back and look at the other times that it 22 and this opinion in your report where your say on |
23 could have been prescribed. I know she was on 23 page 19, second, meaning your second opinion, Susan |}
24 Prozac, I know she was on Paxil. But I don't see 24 Bulger had clearly been ingesting Neurontin from at
25 any reference to the Effexor until 11/6/03. 25 least 10/20/99 until her death on August 4th, 2004.

 

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. Page 1050 Page 1052 |;

1 evidence for the proposition that Neurontin worsened! 1 there was evidence not on that particular date that

2 her depression. And I think we've already talked 2 we just talked about, but other times that it made

3 about kind of what her depression looked like before | 3 her moody, and I cite the exhibit. a

4 Neurontin. You're relying on a July 4th, 2002 record | 4 Q. Okay. Right now we're talking about her

5 that for the proposition that Neurontin made her 5 worsening depression now.

6 worse, right? 6 What evidence --

7 MR. ROSENKRANZ: Objection. Objection. 7 A. I'm going through page 23 at the top and

8 You're taking what the doctor just said out of 8 you're objecting to evidence that I cited with

9 context. 9 particular citations. :
10 MS. SEATON: Well, actually, I'm going to 10 Q. Okay. ;
il object and I'm going to move to strike what 11 A. I'm saying that, first of all, if i
12 the doctor just said because there was no 12 Neurontin made her depression worse, is there any
13 question pending and it was non-responsive to | 13 indication at any time, not just this time in June
14 any question that was on the table. 14 and July, that she had a reaction to Neurontin,
15 MR. ROSENKRANZ: Well, it was responsive 15 © which would be something that could have happened |
16 to your question just now that you're using 16 before this first Crognale prescription when she
17 Dr. -- the note from Crognale in 2002 as the 17 took it before. And in indeed, she became moody,
18 basis and support. And the doctor said that 18 she was totally out of it. And she -- Bulger
19 that is not so because you didn't look at the 19 stated at -- I recite this psychological autopsy,
20 year before. 20 Susan became more depressed, quieter and slept more |
21 MS. SEATON: Okay. 21 frequently after taking Neurontin. |
22 Q. Well, Doctor, let's go to your report, page 22 Q. Okay. What date are we talking about at :
23 22. You indicate that Neurontin treatment worsened | 23 _ this point?
24 Susan Bulger's depressive disorder. In your report | 24 A. Well, you can look up the citations. [
25 what evidence do you cite for that proposition? 25 didn't put a date in here.

Page 1051 Page 1053 |} ,

1 A. Partly the fact that she had not had 1 Q. Okay. You're relying on what Ron Bulger :

2 __ significant depression for the whole calendar year 2 _ said during his deposition?

3 before then. 3 A. I'm relying on the exhibits. I'm relying

4 Q. Where does it say that in your report? 4 onCrognale. Many of these comments were in

5 A. It says that on my time line. 5 Crognale's treatment history where he talked about

6 Q. Where? 6 how Neurontin affected her. My point is they were

7 A. You have --. 7 not just at the time you say well, what else

8 Q. What I'm saying where in your section on 8 besides the 7/2/02 note are you citing and I'm

9 worsened depression does it say that the year _9 — saying that there was an earlier note on
10 preceding her Neurontin prescription the fact that 10 October 30th of 2000 that Neurontin made her
11 she wasn't depressed is some kind of evidence? 11 completely out of it.
12 A. It doesn't. But now that you've gone 12 Q. And I think we talked about that
13 through your whole list of all the times she was 13 October 2000 note and we talked about the fact that,
14 depressed, I want to point out to the jury that you 14 number one, it was not a contemporaneous report of
15 stopped a calendar year before she got her 15 Neurontin making her out of it. Number two, being
16 Neurontin script when she did not have significant 16 out of it does not translate to depression or suicide
17 depression. So by definition, any depression would 17 or suicidal intent, right?
18 be worse because she didn't have very much. 18 A. That's true.
19 Q. Okay. 19 Q. Okay. And then the other record you cite in '
20 MS. SEATON: Object and move to strike. 20 your report is this July 2nd, 2002 record, which the :
21 Q. What other evidence do you rely on for the 21 record itself says Sue comes in today initially h
22 proposition that her Neurontin treatment worsened her | 22 accompanied by her husband Ron and daughter. Ron a
23 depressive disorder? 23 the outset of the interview states that he's very
24 A. Well, there was evidence that -- first of. 24 concerned about his wife and her depression which has
25 ail, that Neurontin can do this. That is to say, been going on for two to three months, right?

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Page 1058 Page 1060 |;
1 depressed she’s also had all of her teeth removed, 1 specifi cally attributing it to Neurontin. |
2 right? 2 Q. Okay, |
3 A. Where do we see that? I see it. 3 A. And in another place, Neurontin made me |;
4 Q. The next paragraph. 4 completely out of it. So she's making specific H
5 Fair to say that bankruptcy and having ail 5 attributions. ;
6 your teeth pulled are fairly significant events that 6 Q. But they're not contemporaneous, right? |
7 might lead to depression? 7 A. They're not. They're just an evidence
8 A. And probably fairly similar. 8 that in the past that she gave us some indication
9 Q. Okay. The other record that you cite in 9 that Neurontin may have an effect on her that's
10 your report for this proposition that Neurontin 10 adverse... . ;
11 treatment worsened Susan Bulger’s depressive disorder | 11 Q. One thing I noticed is that your chronology |
12 is a December 2nd, 2002, record. And I'm on page 23 |12 doesn't include places where her depression is
13 of your report. 13 improved while she's taking Neurontin. i!
14 A. Hold on a second. 14 And I wonder, did you consider those
15 Yes. What's the question? 15 records in forming your opinions?
16 Q. All right. That's one of the things that -- 16 A. Idid. I did. -
17 __ one of the pieces of evidence that you're relying on 17 Q. Okay. Why didn't you include them i in your
18 for this proposition that Neurontin worsened her 18 report? :
19 depression is this 12/2/02 record? 19 A. I don't know why I didn't include them in
20 A. Right. 20 my report. They're, you know, like I don't think
21 Q. Indicating that the Neurontin -- she's not 21 of Neurontin primarily -- the direct effects of
22 taking Neurontin because it was making her moady, 22 Neurontin are not designed to improve your mood.
23 right? 23 That's a side effect. And so, you know, I was
24 A. Right. 24 looking for adverse side effects, not -- not
25 Q. Now, she was actually prescribed Neurontin 25 intended main effects. Although I did notice them
Page 1059 Page 1061 |'
1 from May 14, ‘02 to 10/17/02, right? 1 asIread them. :
2 A. I believe so, yes. 2 Q. Okay. And so you were aware then that in
3 Q. Okay. I'm going to hand you what I'm going _ | 3 August of 2003 she told Dr. Crognale that she felt
4 to mark as Deposition Exhibit No. 86? 4 like the Lexapro in combination with Neurontin F
5 (Exhibit 86: Progress Notes of Susan 5 300 milligrams at bedtime seemed to be improving her |:
6 Bulger dated 5/14/02 marked for 6 mood stability?
7 identification, as of this date.) 7 A. What date is this?
8 Q. Up at the top it's indicating that she's 8 Q. 8/11/03. She indicated that she was
9 taking Neurontin a hundred milligrams one at bedtime, | 9 feeling less depressed and anxious and felt more even
10 then increased to two at bedtime, right? 10 and that Neurontin was helping her to sleep better,
1i A. Right. ii A. Can I see the record?
12 Q. And during this time frame she never 12 Q. Absolutely. H
13 indicated she was experiencing any ill effects from 13 A. Because this is not it, right? }
14 Neurontin, right? 144 Q No. !
15 A. That's true. It's a very low dose too. 15 (Exhibit 87: Progress Notes of Susan :
16 Of course, but we've got to get this 7/2 record and 16 Bulger dated 8/14/03 marked for
17 _ find out for sure what her dose was. 17 identification, as of this date.)
18 Q. Okay. i8 Q. I'm going to hand you what we're going to
19 A. Because I had something different. 19 mark as Deposition Exhibit No. 87.
20 © Q. Would you agree with me that being moody 20 And at the bottom it's dated 8/11/03,
21 was not at all unusual for Susan Bulger? 21 quote, regarding her depression she feels like
22 In fact -- in fact, we looked at a 1993 22 Lexapro 20 milligrams in combination with Neurontin
23 record in which Susan Bulger wrote I used to be very {23 300 milligrams, QHS at bedtime, seems to be improving |;
24 outgoing, I'm usually very moody most days, right? 24 her mood stability. She feels less depressed and
25 A. Right. But here's she specifically, 25 anxious. Feels more even. Is having no significant

 

 

 

 

 

60 (Pages 1058 to 1061)

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Page 1105 |
1 UNITED STATES DISTRICT COURT

2 DISTRICT OF MASSACHUSETTS

6 IN RE: NEURONTIN MARKETING,

7 SALES PRACTICES AND PRODUCTS

 

 

8 LIABILITY LITIGATION

10

11 VOLUME V

12

13

14 CONTINUED VIDEOTAPED DEPOSITION OF -
15 RONALD WILLIAM MARIS, Ph.D.
16 (Taken by Defendant)

17 Columbia, South Carolina
18 Wednesday, October 22, 2008
19

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Page 1110

Page 1112 f

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1 now, color copies of your billing records for 1 no question pending. :
2 the Bulger case and the -- or, actually, are 2 Q. One of the things that we talked ;
3 these your billing records? 3 about yesterday -- or I'm sorry -- on Monday, i
4 A. Yes. They are notes -- notes and 4 was past suicides attempts and ideation. :
5 _ billing records. 5 And I think that you acknowledged :
6 Q. For both the Smith and the Bulger 6 that a history of past suicide attempts is one :
7 case? 7 of the most significant risk factors of suicide;
8 A. Right. 8 yes?
9 MS. SEATON: All right. I'm going to 9 A. With the qualification that it's not
10 mark as Exhibit No. 89, this Bulger -- these 10 for men.
11 Bulger notes. 11 And people make relatively few
12 What I would like to do, if it's 12 attempts.
13 okay, is put a page on the front, because I 13 And it's a complicated relationship,
14 don't want the -- I don't want the exhibit 14 because, for example, in Bulger's case, she had
15 number to -- 15 low lethality attempts, and then a lethal/fatal
16 COURT REPORTER: Obliterate. 16 attempt.
17 MS. SEATON: Thank you. 17 So it's not simply -- you don't just
18 I'm going to mark as Exhibit 89 your 18 count the number of attempts.
19 Bulger notes. 19 Many people say it’s one of the most
20 And I'm going to mark as Exhibit 90, 20 important risk factors.
21 your Smith notes. 21 Q. Let's talk a little bit more about
22 (EXHIBIT 89 MARKED.) 22 ~~ that.
23. (EXHIBIT 90 MARKED.) 23 Low lethality attempts, we also
24 Q. Yesterday we had a free day. And so 24 talked on Monday about the fact -- well, let's
25 Ispent some time on the Internet. And I 25 goat it this way:
Page 1111 Page 1113
1 Googled you. 1 Would you agree with me that from the |
2 And I found you under 2 standpoint of a suicide risk assessment, the B
3 suicideexpert.com. 3 strength of a patient's intent to die, and his ;
4 I was wondering, how long have you 4 or her subjective belief about the lethality of H
5 had that domain name? 5 the method, are more relevant than the objective [|
6 A. The honest answer is: I don't 6 lethality of the chosen method?
7 remember exactly, but it's been several years, 7 MR. ROSENKRANZ: Objection to form.
8 probably five years. 8 A. More important for what?
9 Q. Whose idea was it to register the 9 Q. From the standpoint of suicide risk i
10 domain name: Suicideexpert.com? 10 assessment. H
i1 A. It was my idea. 11 So in deciding whether or not someone
12 Q. Do you pay a fee every year to have 12 is at an increased risk for suicide, it's more i
13 that domain name of www.suicideexpert.com? 13 important to look at the patient's intent with :
14 A. No more than anybody else does for a 14 regard to a suicide attempt, as opposed to the :
15 dotcom listing. 15 actual lethality or lack of lethality of the
16 It's like -- a small amount of money, 16 method chosen. H
17 it's $100 or so, a year. 17 A. No. I don't think that's true. :
18 Q. Okay. 18 I think that the notion of lethality i
19 A. And just to answer your question, it 19 is the medical certainty or probability that if H
20 _ has ail my information, my CV, my references, 20 you do a certain method, it will lead to death, ;
21 previous cases, 21 _regardiess of your intent. F
22 So it's just like an information 22 Q. So you disagree with the American :
23 site. 23 Psychiatric Guidelines that the patient's intent :
24 MS. SEATON: I'm going to object and 24 is actually more important than the method that ,
25 move to strike as non-responsive, as there was 25 heor she chooses with the suicide attempt -- in

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3 (Pages 1110 to 1113)

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Page 1210 Page 1212 |)
1 COURT REPORTER: Okay. I'm going to 1 MS. SEATON: Inappropriate. }
2 read the question back -- 2 MR. ROSENKRANZ: Objection to form.
3 THE WITNESS: You didn't have to 3 MS. SEATON: Inappropriate. You're
4 coach me, I said the same thing -- before he 4 testifying. I have not asked a difficult
5 said anything. 5 question here.
6 COURT REPORTER: Okay. You want the 6 Q. True or false -- that Ron Bulger did
7 question back? 7 not tell the police that Susan Bulger was
8 MS. SEATON: Please. 8 thinking about ending her life, did he?
9 COURT REPORTER: Here is my question: 9 A. He did not say that. He said that
10 Ron Bulger did not tell the police 10 she tried suicide, so he mentioned suicide at .
11 that Susan Bulger was thinking about ending her |11 least three times here in the context of what is
12 life, did he? 12 happening.
13 MR. ROSENKRANZ: Objection to form; 13 MS. SEATON: I object, and I move to :
14 he never testified to that either. 14 strike everything except for "no."
15 Q. Now you may answer. 15 Q. In fact, Ron Bulger did tell the :
16 A. Right. I mean, the statement that he 16 __ police that: :
17 gave to the trooper, which was the night she 17 Last time, it was the same. She I
18 died, says -- in addition to what I said: For 18 never said a word. She took a bottle of pills, :
19 about six months, she has been really depressed. | 19 correct? i
20 MS. SEATON: I object, and I move to 20 A. Yeah. 4
21 _— strike as non-responsive. 21 - That's the last thing he says to the |
22 Q. You are not answering my question. 22 trooper.
23 And my question is not difficult: 23 MR. ROSENKRANZ: Object to form.
24 Did Ron Bulger tell the police 24 MS. SEATON: Okay.
25 that -- Ron Bulger did not tell the police she 25 Q. Did you consider the fact that Ron
Page 1211 Page 1213
1 was talking about ending her life, did he?. 1 Bulger's deposition testimony is also completely
2 MR. ROSENKRANZ: Object to form. 2 contrary to Susan Bulger's reports to her
3 You are basing that on being _ 3 treating physicians during that period of time?
4 _ inconsistent with his testimony. 4 MR. ROSENKRANZ: Objection to form.
5 That was the basis of your question. 5 MS. SEATON: Okay.
6 He never testified that she was 6 A. Yeah.
7 thinking of ending her life. 7 MR. ROSENKRANZ: To what are you
8 MS. SEATON: Gentlemen, this is not a 8 specifying?
9 difficult question. 9 Q. The question is simple: Did you
10 Q. Ron Bulger did not tell the police 10 consider the fact that Ron Bulger's testimony is
11 that Susan Bulger was thinking about ending her 11 inconsistent with what Susan Bulger was telling
12 life, did he? 12 her doctors about her mental state?
13 MR. ROSENKRANZ: The basis of that 13 MR. ROSENKRANZ: Objection to form.
14 question is that that is inconsistent with his 14 To what are you specifically
15 testimony. 15 referring -- again, I ask.
16 And his testimony in his deposition 16 A. I think she did tell him that -- I
17 is- 17 think that he put her on Effexor because she
18 MS. SEATON: And now you're 18 told him that. I
19 testifying. 19 Q. You know what? Let’s go back, and :
20 MR. ROSENKRANZ: -- is that she was 20 let's actually look at the medical records and
21 hopeless, not that she was thinking of ending 21 see what Susan Bulger was telling her doctors
22 her life. 22 immediately prior to her death.
23 MS. SEATON: Counsel -- 23 (EXHIBIT 97 MARKED.)
24 MR. ROSENKRANZ: So there's no 24 Q. I'm handing you what I'm going to
25 inconsistency. 25 mark as Exhibit No. 97. :
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28 (Pages 1210 to 1213)
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Page 1250 Page 1252 |i
1 took the Neurontin, right? 1 A. I believe that’s correct. 3
2 MR. ROSENKRANZ: Objection; asked and 2 Q. Are you aware Mrs. Bulger stopped
3 answered. 3 going to that counselor and group therapy 11
4 A. Thave been asked that a number of 4 months prior to her death, because she found
5 times, and I said the only evidence is that she 5 Dr. Goldman, who would prescribe methadone to
6 asked for it immediately -- 6 her without requiring her to receive any :
7 Q. Okay. 7 therapy?
8 A. -- before her suicide. 8 A. I believe that she did certainly find
9 Q. Did you -- are there any other 9 Goldman. A
10 additional risk factors, other than the suicide 10 I don't know if he made that ;
11 attempts that you -- strike that-- 11 stipulation; I'll take your word for it.
12 Let me start over: 12 Q. Are you aware -- did you consider the :
13 I want to talk, Doctor, about this 13 fact that Susan Bulger received no counseling or [-
14 methodology by which you reached an opinion that} 14 therapy for the 11 months prior to her suicide? s
15 Neurontin played some role in Susan Bulger's 15 A. Right. I'm aware of that. i
16 suicide. 16 Q. In your expert opinion, would Susan
17 And, specifically, I want to know 17 Bulger have benefited from psychiatric treatment
18 what risk factors you considered, and how you 18 in 2004?
19 ruled out various risk factors. 19 A. . She could have; although, she had had
20 Do you know whether lack of mental 20 treatment many times before.
21 health treatment is a risk factor for suicide? 21 I think you pointed out to me, she
22 A. It certainly can be, yes. 22 had never finished a detox program.
23 Q. Receiving counsel or seeking a 23 She was often non-compliant, and so
24 therapist can be a protective factor, correct? 24 I'mnot sure how much help she would have
25 A. If you have a good counselor. 25 gotten. !
Page 1251 Page 1253 |;
1 Q. You did not identify lack of mental 1 Q. Did you rule out the fact that Susan
2 health treatment as a risk factor for 2 Bulger had stopped receiving counseling as the
3 Mrs. Bulger, correct? 3 cause of her suicide?
4 A. I did not. 4 A. First of all, I don't have the same
5 Q. And, in fact, you identified 5 model that you are assuming, which is a
6 treatment for depression as a protective factor 6 differential diagnosis model, where you rule out
7 in this case, correct? 7 the alternatives.
8 A. Actually, if you ever to get to my 8 My theory, as you know, is that I
9 new theory, I defined it as both, which is to 9 rule them in, and I talk about them actually
10 say: People who get treatment usually have some |10 contributing to making her part of a vulnerable
11 remission of symptoms, not always. 11 minority of patients --
12 For example, 60 to 70 percent of 12 Q. Well, Dr. Maris -- I
13 people taking an anti-depressant never have an 13 THE WITNESS: I'm not finished. :
14 anti-depressant effect. 14 MS, SEATON: Okay. H
15 But -- so it helps them, but if there 15 A. And that by ruling them in, then the |
16 are adverse events or adverse effects then, 16 Neurontin becomes an additional substantive
17 obviously, it can also hurt them. 17 proximate risk factor, not the only factor. H
18 Q. Are you aware that Susan Bulger had 18 So I'm not ruling these things out. i
19 been seeing a counselor and receiving some group | 19 I never tried to rule them out. i
20 therapy between 2000 and 2003? 20 I'm saying that there was a
21 A. Yes. 21 combination of effects and risk factors that ;
22 Q. And that was part of her -- one of 22 made her suicidal, and which Neurontin was one |i
23 ‘the requirements that, in order to get her 23 =~of them. |
24 methadone, she had to attend the therapy 24 Q. You have testified in this
25 __ sessions; Is that right? 25 _ litigation, in addition to publicly stating, H
I

38 (Pages 1250to 1253)
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